Case 18-09108-RLM-11            Doc 222       Filed 01/31/19      EOD 01/31/19 15:40:33            Pg 1 of 6



                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION


    In re:                                                  Chapter 11
                            1
    USA GYMNASTICS,                                         Case No. 18-09108-RLM-11

                           Debtor.


    DEBTOR’S MOTION FOR ORDER EXTENDING PERIOD WITHIN WHICH IT MAY
     REMOVE STATE COURT ACTIONS PURSUANT TO 28 U.S.C. § 1452 AND RULE
          9027 OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE

             USA Gymnastics, as debtor and debtor in possession in the above-captioned chapter 11

case (the “Debtor”), hereby moves (the “Motion”) for the entry of an order, substantially in the

form attached hereto as Exhibit A, pursuant to section 1452 of title 28 of the United States Code

(the “Judicial Code”) and Rules 9006(b) and 9027 of the Federal Rules of Bankruptcy Procedure

(the “Bankruptcy Rules”), extending the 90-day period set forth in Bankruptcy

Rule 9027(a)(2)(A) during which the Debtor may seek to remove actions to federal court under

section 1452 of the Judicial Code and Bankruptcy Rule 9027 by an additional 90 days through and

including June 3, 2019, without prejudice to the Debtor’s right to seek further extensions. In

support of the Motion, the Debtor respectfully states as follows:

                                     JURISDICTION AND VENUE

             1.    This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§ 157

and 1334. This matter is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue is proper

before this Court pursuant to 28 U.S.C. §§ 1408 and 1409. The statutory and legal predicates for




1
 The last four digits of the Debtor’s federal tax identification number are 7871. The location of the Debtor’s
principal office is 130 E. Washington Street, Suite 700, Indianapolis, Indiana 46204.
Case 18-09108-RLM-11         Doc 222      Filed 01/31/19     EOD 01/31/19 15:40:33         Pg 2 of 6



the relief sought herein are section 1452 of the Judicial Code and Rules 9006(b) and 9027 of the

Bankruptcy Rules.

                                        BACKGROUND

       2.      On December 5, 2018 (the “Petition Date”), the Debtor filed a voluntary petition

for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”).

       3.      The Debtor remains in possession of its property and continues to operate and

maintain its organization as debtor in possession pursuant to sections 1107(a) and 1108 of the

Bankruptcy Code. No request has been made for the appointment of a trustee or examiner in this

chapter 11 case.

       4.      On December 19, 2018, the United States Trustee appointed the Additional Tort

Claimants Committee Of Sexual Abuse Survivors (the “Sexual Abuse Survivors Committee”).

       5.      The current time period within which the Debtor may file notices to remove actions

under Bankruptcy Rule 9027(a)(2) expires on March 5, 2019.

                                     RELIEF REQUESTED

       6.      By this Motion, the Debtor seeks the entry of an order, pursuant to Rule 9006(b) of

the Bankruptcy Rules, extending the time by which the Debtor may file notices of removal from

March 5, 2019, through and including June 3, 2019, with respect to any proceedings that are

eligible for removal under section 1452 of the Judicial Code. The Debtor requests that the proposed

June 3, 2019 deadline to file removal actions apply to all matters specified in Bankruptcy Rules

9027(a)(2) and (3), including but not limited to those set forth in Exhibit B attached hereto.

                              BASIS FOR REQUESTED RELIEF

       7.      Section 1452 of the Judicial Code provides for the removal of pending civil claims

pursuant to which the district courts have jurisdiction under section 1334 of the Judicial Code.

Section 1452 provides in pertinent part as follows:


                                                 2
Case 18-09108-RLM-11         Doc 222      Filed 01/31/19      EOD 01/31/19 15:40:33        Pg 3 of 6



               (a)     A party may remove any claim or cause of action in a civil
                       action other than a proceeding before the United States Tax
                       Court or a civil action by a governmental unit to enforce such
                       governmental unit’s police or regulatory power, to the
                       district court for the district where such civil action is
                       pending, if such district court has jurisdiction of such claim
                       or cause of action under section 1334 of this title.

               (b)     The court to which such claim or cause of action is removed
                       may remand such claim or cause of action on any equitable
                       ground. An order entered under this subsection remanding a
                       claim or cause of action, or a decision to not remand, is not
                       reviewable by appeal or otherwise....

28 U.S.C. § 1452.

       8.      Bankruptcy Rule 9027 establishes the deadline for filing notices of removal of

claims or causes of action. Bankruptcy Rule 9027(a)(2) provides in pertinent part as follows:

               If the claim or cause of action in a civil action is pending when a
               case under the [Bankruptcy] Code is commenced, a notice of
               removal may be filed [in the bankruptcy court] only within the
               longest of (A) 90 days after the order for relief in the case under the
               [Bankruptcy] Code, (B) 30 days after entry of an order terminating
               a stay, if the claim or cause of action in a civil action has been stayed
               under § 362 of the [Bankruptcy] Code, or (C) 30 days after a trustee
               qualifies in a chapter 11 reorganization case but not later than 180
               days after the order for relief.

Fed. R. Bankr. P. 9027(a)(2).

       9.      Bankruptcy Rule 9006(b)(1) provides that the Court can extend unexpired time

periods, including the removal period in Bankruptcy Rule 9027, without notice, upon a showing

of cause:

               [W]hen an act is required or allowed to be done at or within a
               specified period by these rules or by a notice given thereunder or by
               order of court, the court for cause shown may at any time in its
               discretion . . . with or without motion or notice order the period
               enlarged if the request therefor is made before the expiration of the
               period originally prescribed or as extended by a previous order....

Fed. R. Bankr. P. 9006(b)(1).



                                                  3
Case 18-09108-RLM-11         Doc 222      Filed 01/31/19     EOD 01/31/19 15:40:33          Pg 4 of 6



       10.     It is well settled that this Court is authorized to extend the removal periods provided

under Bankruptcy Rule 9027. See e.g., Pacor, Inc. v. Higgins, 743 F.2d 984, 996 n.17 (3d Cir.

1984) (stating that under Bankruptcy Rule 9006(b), “it is clear that the court may grant such an

extension [of time to remove]”); Caperton v. A.T. Massey Coal Co., 251 B.R. 322, 325 (S.D. W.Va.

2000) (explaining that Bankruptcy Rule 9006(b) allows a court to enlarge the time period for

removing actions under Bankruptcy Rule 9027(a)(3)); In re Lawrence, 233 B.R. 248, 254-55

(N.D.N.Y. 1999) (stating that Bankruptcy Rule 9006 can be used to extend the time for removal

of state court litigation to federal court); Jandous Elec. Constr. Corp. v. City of New York (In re

Jandous Elec. Constr. Corp.), 106 B.R. 48, 50 (Bankr. S.D.N.Y. 1989) (stating that the removal

period may be extended under Bankruptcy Rule 9006); Saint Joseph’s Hosp. v. Dep’t of Pub.

Welfare of Pa. (In re Saint Joseph’s Hosp.), 103 B.R. 643, 648 (Bankr. E.D. Pa. 1989) (extending

the 90-day time period in which to seek removal of pending state court litigation); In re World Fin.

Servs. Ctr. Inc., 81 B.R. 33, 39 (Bankr. S.D. Cal. 1987) (stating that the court may enlarge the time

period for filing removal notices under Bankruptcy Rule 9027(a)(3)).

       11.     The Debtor’s primary objective in this case is to implement orderly, equitable, and

efficient procedures to allocate the Debtor’s available insurance proceeds to survivors who hold

allowed claims against the Debtor. At this time, and consistent with that objective, the Debtor is

evaluating the various pending litigation to determine whether removal is appropriate in any of

those matters. The Debtor requests additional time to complete this evaluation.

       12.     Accordingly, the Debtor seeks an extension of the current deadline under

Bankruptcy Rule 9027(a) to protect its right to remove those civil actions for which it may

determine that removal is appropriate. The extension sought will afford the Debtor additional time

to determine whether to remove any pending civil action and will ensure that the Debtor does not




                                                 4
Case 18-09108-RLM-11          Doc 222      Filed 01/31/19      EOD 01/31/19 15:40:33          Pg 5 of 6



forfeit valuable rights under section 1452 of the Judicial Code. Critically, the rights of other parties

to the relevant litigation will not be prejudiced by the extension, because any party to an action

that is removed may seek to have it remanded to the original court pursuant to section 1452(b) of

the Judicial Code.

       13.     The Debtor further requests that the order approving this Motion be without

prejudice to (a) any position the Debtor may take regarding whether section 362 of the Bankruptcy

Code applies to stay any given civil action pending against the Debtor and (b) the right of the

Debtor to seek further extensions of the period in which it may remove civil actions pursuant to

Bankruptcy Rule 9027.

       14.     Accordingly, the Debtor submits that the relief requested herein is in the best

interests of its estate and respectfully requests an extension of time by which the Debtor may file

notices of removal through and including June 3, 2019 with respect to any proceedings that are

eligible for removal under section 1452 of the Judicial Code. The Debtor further reserves its right

to seek additional extensions of this time period.

                                              NOTICE

       15.     The Debtor will provide notice of this Motion in accordance with the Order

Granting Debtor’s Motion For Order Establishing Certain Notice, Case Management, And

Administrative Procedures [Dkt. 213]. In light of the nature of the relief requested herein, the

Debtor submits that no other or further notice is necessary.

       WHEREFORE, the Debtor respectfully requests that the Court enter an Order substantially

in the form attached as Exhibit A, granting the relief requested herein and granting all other just

and proper relief.




                                                   5
Case 18-09108-RLM-11      Doc 222   Filed 01/31/19   EOD 01/31/19 15:40:33       Pg 6 of 6



Dated: January 31, 2019                Respectfully submitted,

                                       JENNER & BLOCK LLP

                                       By: /s/ Catherine Steege

                                       Catherine L. Steege (admitted pro hac vice)
                                       Dean N. Panos (admitted pro hac vice)
                                       Melissa M. Root (#24230-49)
                                       353 N. Clark Street
                                       Chicago, Illinois 60654
                                       (312) 923-2952
                                       csteege@jenner.com
                                       dpanos@jenner.com
                                       mroot@jenner.com

                                       Counsel for the Debtor




                                          6
